Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 1 of 90 PageID 1




                UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF FLORIDA
                       TAMPA DIVISION

                                         :
GAWAIN BAXTER, LAURA BAXTER              :
and VALESKA PARIS,                       : CIVIL ACTION
                                         :
                 Plaintiffs,             :
                                         : NO. ________________________
     v.                                  :
                                         :
DAVID MISCAVIGE; CHURCH OF               :
SCIENTOLOGY INTERNATIONAL,               :
INC.; RELIGIOUS TECHNOLOGY               :
CENTER, INC.; IAS                        :
ADMINISTRATIONS, INC.; CHURCH            :
OF SCIENTOLOGY FLAG SERVICE              :
ORGANIZATION, INC.; and CHURCH           :
OF SCIENTOLOGY FLAG SHIP                 :
SERVICE ORGANIZATION, INC.,              :
                                         :
                 Defendants.             :
                                         :


                         COMPLAINT
                  AND DEMAND FOR JURY TRIAL
 Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 2 of 90 PageID 2




                                    TABLE OF CONTENTS


I.   INTRODUCTION ...................................................................................... 1
II.  JURISDICTION AND VENUE ................................................................. 4
III. THE PARTIES ........................................................................................... 4
     A.  The Plaintiffs .................................................................................... 4
     B.  The Defendants ................................................................................ 5
IV. FACTUAL BACKGROUND ...................................................................... 9
     A.  SCIENTOLOGY ............................................................................... 9
         1.   Defendants’ Organization and Management ....................... 9
         2.   The Freewinds...................................................................... 15
         3.   Psychological Theory ........................................................... 18
         4.   Membership .......................................................................... 20
         5.   Coercive Control ................................................................... 20
              a.     Auditing ...................................................................... 20
              b.     Isolation of Children .................................................. 24
              c.     Crime and Punishment ............................................. 27
         6.   The Consequences of Defecting ........................................... 32
         7.   The Abusive Formal Process for Leaving Scientology ....... 37
     C.  FACTS SPECIFIC TO PLAINTIFFS ........................................... 40
         1.   Plaintiff Gawain Baxter ...................................................... 40
         2.   Plaintiff Laura Baxter ......................................................... 48
         3.   Plaintiffs Gawain Baxter and Laura Baxter Meet and
              Marry .................................................................................... 52
         4.   Plaintiff Valeska Paris ........................................................ 57
V.   CLAIMS FOR RELIEF ............................................................................ 78
VI. DEMAND FOR JURY TRIAL ................................................................. 85
VII. PRAYER FOR RELIEF ........................................................................... 85




                                                      i
    Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 3 of 90 PageID 3




I.      INTRODUCTION

        1.    Plaintiffs bring this action against Defendants pursuant to the

Trafficking Victims Protection Reauthorization Act (“TVPRA”), 18 U.S.C.

§§1581-1597. As children, all three Plaintiffs grew up in, and were raised by

Scientology.1 This was not a peaceful or loving environment; instead, it was a

world filled with abuse, violence, intimidation, and fear. Defendants

considered Plaintiffs to be possessions, void of any rights, whose sole purpose

was to serve Defendants. Plaintiffs were placed on a ship they could not

leave and routinely punished by being humiliated, interrogated, and

imprisoned, for the sole purpose of ensuring Plaintiffs would continue to

perform back breaking free labor for the Defendants.

        2.    Defendants in this action are David Miscavige, Church of

Scientology International, Inc., Religious Technology Center, Inc., IAS

Administrations, Inc., Church of Scientology Flag Service Organization, Inc.,

and Church of Scientology Flag Ship Service Organization, Inc. (together,

“Defendants”). Plaintiffs allege Defendants violated the TVPRA by

committing, attempting, and conspiring to commit, and/or by participating in


1 “Scientology” and “Church of Scientology” are umbrella terms used to refer
to the entire universe of entities and organizations affiliated with
Defendants. “Scientologist” refers to any person who is a member of any
constituent entity or organization of Scientology, including members of Sea
Org. Scientologists who are not members of Sea Org are often referred to as
“public” members.

                                        1
    Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 4 of 90 PageID 4




a trafficking venture that committed, attempted, and conspired to commit,

forced labor and other human trafficking offenses against Plaintiffs in

violation of Chapter 77 of Title 18 of the United States Code. Defendants

directly and through the venture coerced persons, including Plaintiffs, to join

the Defendants’ “Sea Org” and provide unpaid labor and services for a decade

or longer on Defendants’ ocean going cruise ship vessel, the “Freewinds.”2

Defendants knowingly obtained valuable benefits, including but not limited

to financial enrichment, and free labor and services, like construction work,

landscaping, and food preparation at “Flag Base,” in Clearwater, Florida, and

aboard the Freewinds. The receipt of money and unpaid labor also enabled

David Miscavige to maintain a façade of legitimacy, a luxurious lifestyle,

power over every aspect of the organization’s global operations, and influence

over members, including celebrities who joined and promoted Scientology

publicly. Persons working under Miscavige also benefitted from their

participation, financially and/or by obtaining the enhanced status, power, and

authority that he bestowed on them. As a result, all Defendants knew or

should have known about the venture’s offenses, and all participants in the

venture are jointly and severally liable for the physical, emotional,

psychological, and economic harm caused to the Plaintiffs.


2All Scientology-affiliated entities and organizations alleged herein are
managed and controlled exclusively by members of Sea Org.

                                        2
    Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 5 of 90 PageID 5




        3.    This action concerns abusive practices within Defendants’ Sea

Org and its subsidiary organization for young children known as “Cadet

Org.”3 Through the highly-regimented Cadet Org and Sea Org, children

raised in Scientology are indoctrinated, manipulated, and pressured into

coercive circumstances from a young age, in which they are compelled to

provide age-inappropriate labor and services to Defendants with little or no

preparation or training, safety precautions, or compensation, and from which

there are no reasonable means of escape. Because Scientology’s distinction

between children and adults is fuzzy, at best, children are informed that they

are considered adults and that they must behave and expect to be treated as

adults. There is thus no acknowledged transition from childhood to

adulthood; rather, minors transition from Cadet Org to Sea Org in their mid-

teens and continue to labor away in Defendants’ coercive environment

without ever comprehending that they may have a legal right to their own

agency.

        4.    Plaintiffs seek compensatory and punitive damages against

Defendants under 18 U.S.C. §1595(a) for the injuries inflicted upon them by

Defendants, directly and through their venture, in violation of 18 U.S.C.

§§1581, 1589 and 1590.



3   Unless otherwise specified, references to Sea Org herein include Cadet Org.

                                        3
 Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 6 of 90 PageID 6




II.    JURISDICTION AND VENUE

       5.   The Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §1331 and 18 U.S.C. §1595(a).

       6.   Venue is proper in this Judicial District pursuant 28 U.S.C.

§§1391(b)(2) or (3). A substantial part of the events or omissions giving rise

to the claims alleged herein occurred in this District, and Defendants are

subject to personal jurisdiction in this District.

III.   THE PARTIES

       A.   The Plaintiffs

       7.   Plaintiff, Gawain Baxter, is a citizen and resident of Australia.

In 1982, when Gawain was only a few weeks old, his family moved from

Australia to the Scientology “Flag Base” in Clearwater, Florida. Gawain was

raised within Scientology.

       8.   Plaintiff, Laura Baxter, is a citizen of Germany and current

resident of Australia. Laura was raised within Scientology.

       9.   Plaintiff, Valeska Paris, is a citizen of France and Switzerland

and a resident of Australia. In 1984, when Valeska was only six years old,

she signed a Sea Org contract and joined Cadet Org in England. Valeska was

separated from her family and lived communally with other Sea Org

members in England. In 1992, Valeska moved from England to the



                                         4
 Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 7 of 90 PageID 7




Scientology “Flag Base” in Clearwater, Florida. Valeska was raised within

Scientology.

      B.    The Defendants

      10.   Defendant David Miscavige is an individual who resides in or

near Clearwater, Florida. At all times relevant hereto, Miscavige controlled

and directed the activities of all Defendant entities herein. Among other

things, Miscavige personally directed and continues to direct the

management and operations of Defendants Church of Scientology

International, Inc., Religious Technology Center, Inc., IAS Administrations,

Inc., Church of Scientology Flag Service Organization, Inc., and Church of

Scientology Flag Ship Service Organization, Inc., including the practices and

conduct alleged herein.

      11.   Defendant Religious Technology Center, Inc. (“RTC”) is

incorporated in California and is the principal management, security, and

enforcement operation for Scientology. Pursuant to an assignment

agreement with Scientology founder L. Ron Hubbard, RTC owns, administers

and enforces certain intellectual property (“IP”) rights, including

Scientology’s trademarks and rights in its so-called “advanced tech,” and it

receives licensing fees paid for the exploitation of those rights, including their

use in Scientology courses and course materials. Operating under Defendant



                                        5
    Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 8 of 90 PageID 8




Miscavige’s direction, senior RTC officers, including those in RTC’s Office of

Inspector General (“OIG”), oversaw and directed the management of

Scientology-affiliated entities and organizations, including Defendant entities

herein. RTC and Miscavige also oversaw and directed Defendants’ sprawling

and pervasive investigative and policing operations, monitored members’

behavior, and handled matters concerning discipline and punishment of

members throughout all Scientology-affiliated entities, groups, and

organizations.

        12.   Defendant Church of Scientology International (“CSI”) is a

California nonprofit corporation, with headquarters in Los Angeles,

California. CSI is controlled and directed by Defendant Miscavige, directly

and through RTC’s officers and others who report to him. CSI is the licensee

of Scientology’s IP, including trademarks and other IP owned and

administered by Defendant RTC.4 CSI licenses Scientology’s IP to numerous

Scientology-affiliated entities and organizations, which pay CSI licensing fees

that it passes through to the owners of the IP, including Defendant RTC. CSI

conducted substantial business at its “spiritual headquarters” in Clearwater,

Florida, known as Flag Base, which includes the 172,000 square foot Oak



4 While RTC owns Scientology’s trademarks and “advanced tech,” copyrights
in its other literature are owned by Scientology-affiliated Church of Spiritual
Technology (“CST”) and licensed to CSI.

                                        6
 Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 9 of 90 PageID 9




Cove, the 267,000 square foot Fort Harrison, and the centerpiece of Flag

Base, the 377,000 square foot Flag Building. CSI and Miscavige control a

number of trusts, including Flag Ship Trust, which among other things owns

the company that owns the Scientology ship, Freewinds.

      13.   Defendant Church of Scientology Flag Service Organization, Inc.

(“FSO”), is a licensee of CSI, incorporated and headquartered in Florida.

Through RTC, CSI, and individuals reporting to him, Defendant Miscavige

controls and directs the management of FSO. FSO’s operations include two

primary functions: management and administration of Scientology’s auditing

process (described in detail below), and ownership, management and

operation of Flag Base, Scientology’s substantial real property holdings in

Clearwater, Florida. Flag Base is Scientology’s global hub of operations and

its largest source of revenues, providing (among other things) temporary

quarters for visiting Scientologists, facilities for classes and auditing

sessions, dining and meeting facilities, and the center where Defendants host

large gatherings, including CSI’s annual gala. As with the other Defendant

entities, Flag Base is staffed by members of Cadet Org and Sea Org, who live

in dormitories at Flag Base.

      14.   Defendant Church of Scientology Flag Ship Service Organization,

Inc., (“FSSO, Inc.”) is a not-for-profit corporation with its principal place of



                                         7
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 10 of 90 PageID 10




business in Clearwater, Florida. FSSO, Inc., operates the Freewinds. It also

recruits and employs Sea Org members to work on its crew, and it collects

fees from members of the International Association of Scientologists (“IAS”)

for courses, services, and programs they participate in on the ship. FSSO,

Inc., is controlled and directed by Defendant Miscavige, through RTC, CSI,

and individuals who report to him.

      15.   Defendant International Association of Scientologists

Administrations, Inc. (“IASA”) is a Delaware corporation headquartered in

Los Angeles, California, with offices and operations in Clearwater, Florida, at

Defendants’ Flag Base. Defendant Miscavige exclusively directs all

operations of IASA. IASA is the operating entity for the International

Association of Scientologists (“IAS”), an unincorporated membership

association that all persons who participate in Scientology are required to

join. All Scientologists are members of IAS and are required to pay annual

dues to IASA, which administers and transfers those funds (and other

payments solicited by IAS) under the exclusive direction of Defendant

Miscavige, for his personal enrichment and benefit and for the benefit of

Defendants CSI, RTC, FSO, and FSSO, Inc., as well as the Freewinds and

other Scientology-affiliated entities, organizations, properties, and

enterprises. IASA finances Defendant Miscavige’s “war chest,” a



                                       8
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 11 of 90 PageID 11




discretionary fund he and other Defendants’ most senior officers utilize to

support intelligence gathering and retaliation campaigns against defectors

and critics of Defendants.

       16.   While all Scientologists are required to pay annual membership

dues, CSI has no members and receives no membership dues or donations.

Annual dues and donations are funneled into Defendant IASA and several

CSI-controlled trusts, through which IASA conducts Scientology’s financial

affairs, including the acquisition and development of its vast portfolio of real

estate holdings and the ship Freewinds.

IV.    FACTUAL BACKGROUND

       A.    SCIENTOLOGY

             1.   Defendants’ Organization and Management

       17.   Scientology is organized and operates through a global network of

corporations, trusts, and unincorporated associations and organizations.

This structure creates the appearance of a group of affiliated but

decentralized and independently managed establishments operating

pursuant to general authority bestowed upon them by the “Mother Church,”

CSI.

       18.   While ostensibly decentralized, Scientology’s management is fully

top-down, with all principal entities and organizations, including Defendant

entities herein, controlled and managed under the direction of one man,

                                        9
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 12 of 90 PageID 12




Defendant Miscavige, whose authority is absolute. Miscavige receives daily

reports on and directs the operations of each Scientology-affiliated entity and

organization through “command channels,” with built-in redundancies to

ensure he receives complete and timely information about all aspects of

Defendants’ operations, and that his directives are fully carried out without

any variance. Through RTC and other command channels, Miscavige

controls the management of Scientology, including by directing the

implementation and enforcement of all policies, practices, and procedures for

every Scientology-affiliated entity and organization, including each

Defendant entity herein.

        19.   RTC is directly controlled by Defendant Miscavige, who holds the

title of Chairman of the Board of RTC. RTC officers are continually present

at and monitor, control, and direct the management of Defendants CSI, FSO,

and FSSO, Inc., as well as all Rehabilitation Project Force sites, the ship

Freewinds, primary Scientology sites such as Saint Hill in the United

Kingdom,5 and Defendant’s International Base in California, among many

others. RTC officers answer only to Miscavige, and they hold command

authority in each organization and at each site to which they are assigned.




5   Such primary sites are sometimes referred to by Scientology as “Ideal Orgs.”

                                        10
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 13 of 90 PageID 13




      20.   Management oversight for Scientology-affiliated entities and

operations is, on paper, vested in a Watchdog Committee consisting of upper-

echelon individuals situated within CSI. This body was under the direct

control of Miscavige’s predecessor, Scientology founder L. Ron Hubbard, and

it continued to operate under Miscavige’s control after Hubbard’s passing.

However, the Watchdog Committee and other purported senior managerial

structures and functions are a fiction: through a series of purges and

personnel actions beginning in the early 2000s, Miscavige collapsed those

committees and organizations, placing all managerial oversight and

supervision – and thus the management of other Scientology-affiliated

entities – directly under his control. The entire upper echelon of Scientology’s

management, including within RTC and CSI, as well as the senior officers

and managers of other entities such as FSO, FSSO, Inc., and IASA, serve at

Miscavige’s pleasure and he alone has sole discretion to fire and replace those

persons at will, which he has done on a number of occasions.

      21.   CSI’s Office of Special Affairs (“OSA”) handles Scientology’s

internal security and outside legal affairs, and serves as Scientology’s

intelligence and spying operation. Through its operatives and agents, OSA

tracks, monitors, and directs retaliation campaigns and ruinous litigation

against defectors and critics of Scientology. The head of OSA and other OSA



                                       11
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 14 of 90 PageID 14




officers report to and take direction exclusively from Miscavige and his senior

RTC officers.

      22.   The Commodore’s Messenger Organization (“CMO”) is a group

controlled and directed solely by Miscavige that operates outside of the

structure and management of Scientology-affiliated entities. CMO’s primary

function is to enforce Defendants’ policies pursuant to Miscavige’s direction,

monitoring the management of all Scientology operations, providing reports

to Miscavige and his senior officers, and relaying and enforcing directives

from them to operational managers. For each of Defendants’ operations there

is a corresponding CMO unit supervised by a Commanding Officer, including

at Flag Base and on the Freewinds.

      23.   RTC and CMO are the two command channels through which

Miscavige exercises his authority and directs Defendants’ operations. CMO

members possess and exercise substantial power and authority over

management in each entity and at each of Defendants’ operations,

subordinate only to RTC officers. Both RTC and CMO officers are superior to

senior managers in Defendants’ operations, including in the operations of

Defendants FSO and FSSO, Inc. All senior managers and their subordinates

are required to report to and take direction from the RTC and CMO agents

assigned by Miscavige to their respective organizations. Because any



                                      12
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 15 of 90 PageID 15




directive issued by an RTC or CMO agent is on the authority of Miscavige,

even the most senior officers and directors of Scientology-affiliated entities

have no power to override those commands. No decision of any consequence

is made, and no directive is issued, outside of Miscavige’s command channels.

        24.   These two primary command channels are designed to maximize

Miscavige’s control, in part by providing redundancy: both RTC and CMO

officers monitor and report on management and operations and ruthlessly

carry out the directives they are given. This enables an extremely high level

of control, ensuring that accurate and complete information is always

reported up through the command channels and directives executed without

fail.

        25.   All so-called ethics and justice policies, which rigidly govern

every aspect of the behavior and discipline of Sea Org members (including

managers), are enforced through these same mutually reinforcing command

channels, the overall effect of which is highly oppressive and coercive. This

system operates as a one-way ratchet, rewarding senior personnel who rigidly

enforce policies and directives, including through severe mistreatment and

punishment of subordinates, and penalizing those who provide or permit any

lenience or laxity in their operations, including RTC and CMO officers who

are subject to extremely harsh punishment by Defendant Miscavige for



                                         13
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 16 of 90 PageID 16




anything he perceives as inconsistent with his expectations in the operations

under their command.

      26.   All persons who are deemed to be potential sources of trouble,

including Sea Org members whose behavior deviates from Defendants’ rigid

policies, defectors who are perceived to present any risk of speaking or taking

action against Defendants, and critics of Scientology, are reported to

Miscavige on a daily basis by his senior RTC, CMO, and OSA officers.

Miscavige then issues directions to RTC, CMO, and OSA for handling,

punishing, and controlling each purported offender. Policing and

enforcement of Defendants’ policies are further enhanced by rules obligating

all Sea Org members to report violations of policies by other Sea Org

members through written “Knowledge Reports.” These reports are submitted

to operational managers who provide them to RTC and/or CMO officers, who

submit them through the command channels for determination of

appropriate punishments. Any Sea Org member who is aware of misconduct

and fails to write it up and submit it in a Knowledge Report is subject to

harsh consequences.

      27.   This paranoid and fear-based environment is further reinforced

through Defendants’ policy obligating every Sea Org member to self-report

deviant thoughts and behavior, including prior failures to self-report. This



                                      14
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 17 of 90 PageID 17




process, known as writing up “overts and withholds”, is imposed on members

starting at a very young age while they are in Cadet Org, so that by the time

they are assigned to posts in Sea Org, voluntarily writing up these self-

reports or readily doing so when instructed by a superior becomes second

nature.

              2.   The Freewinds

      28.     Freewinds is owned by San Donato Properties S.A., a Panama

corporation, which is wholly owned by Flag Ship Trust, a trust controlled by

Defendants Miscavige and CSI. The most senior officers and authorities on

the Freewinds report to and take direction from Defendant David Miscavige,

who is the ultimate authority in the ship’s chain of command. Under the

direction of Miscavige and the corporate Defendants, Plaintiffs were forced to

work for years on the Freewinds under highly dangerous and abusive

conditions.

      29.     The Freewinds’ home port is in Curacao, an island nation in the

South Caribbean. All Sea Org members assigned to work on the Freewinds

crew are transported to Curacao, where they board the ship. According to

both the U.S. State Department and Central Intelligence Agency, Curacao

has a significant human trafficking problem, including labor trafficking of

undocumented foreign nationals. The Freewinds frequently sails to the other



                                       15
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 18 of 90 PageID 18




two “ABC islands” of the Antilles, Aruba and Bonaire, where anti-trafficking

measures are also weak.

      30.   Consistent with Defendants’ longstanding policies, the Freewinds

never docks at any U.S. port, and it never enters the territorial waters of the

United States.

      31.   At all times relevant hereto, RTC’s senior executive on the

Freewinds, Lurie Belotti, reported directly to David Miscavige. As

Miscavige’s representative and an RTC executive, Belotti was the ultimate

authority on the ship, communicating frequently with Miscavige about the

ship’s operations, including matters concerning crew work assignments,

behavior, and discipline. Three other officers on the ship had principal

responsibility for day-to-day operations, including carrying out Miscavige’s

and Belotti’s directives. Sue Price, a director of Defendant FSSO, Inc., served

as Commanding Officer of CMO on the ship, reporting to both Belotti and

Miscavige. Sharron Weber was President of FSSO, Inc., and served as

Commanding Officer of the FSSO organization on the ship, reporting to

Belotti and Price. The ship’s Captain, Mike Napier, had operational

command of the Freewinds Service Organization (“FWSO”) and he also

reported to Belotti and Price.




                                      16
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 19 of 90 PageID 19




      32.   FWSO and FSSO are both operations of Defendant FSSO, Inc.,

organized into two groups to delineate and separate those operations that are

managed day-to-day by the ship’s captain from all other operations on the

ship. FWSO is responsible for accommodations, food preparation and dining

facilities, cleaning, maintenance and engineering, and the ship’s medical

office. Security also operates within FWSO, including the personnel charged

with confiscating crew documents, preventing crew from unauthorized

departures from the ship, maintaining surveillance of crew members subject

to disciplinary actions, and recovering defectors who escape from the ship.

      33.   FSSO’s organization includes the ship’s recruitment, personnel,

ethics, and discipline operations, as well as operations for auditing ship crew

and correction of crew auditors. FSSO also provides all services and courses

to the public Scientologists who are guests on the ship, including

Scientology’s highest level (and most expensive) course, OT VIII.

      34.   IASA’s operation on the ship is limited and largely public-facing.

IASA staff are tasked with promoting Freewinds programs and signing up

IAS members for those programs. While IASA signs up members for

programs on the ship, FSSO provides auditing services and courses to guests

on the ship and FSSO collects the fees for those services. When new guests

board the ship, however, IAS staff are required to solicit additional,



                                       17
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 20 of 90 PageID 20




sometimes very large donations, which are paid into IASA’s coffers. Among

many other things, when Miscavige hosts celebrity guests on the ship, he

uses IASA funds to provide them (and himself) with lavish treatment and

luxuries not provided to other guests. Indeed, he occasionally uses the

Freewinds as his private yacht, including hosting celebrities when the ship is

not occupied by other public members.

            3.    Psychological Theory

      35.   Scientology rests almost entirely upon the writings of L. Ron

Hubbard, a science fiction author who wrote Dianetics: The Modern Science of

Mental Health (1950), which was for a time a popular volume in the self-help,

“human potential” genre. The basic theory of Dianetics is that the human

mind can be separated into two spheres: an emotionally reactive mind and an

unemotional, analytic mind. Dianetics teaches that the analytic mind is a

computer, incapable of error. Human misjudgments, on the other hand,

which create social problems and much individual suffering, are attributed to

the emotionally reactive mind, which is made up of patterns imprinted on the

nervous system in moments of pain or stress. These imprinted patterns may

be triggered by stimuli associated by the emotional mind with the original

imprinting, which may, in turn, produce unconscious or conditioned behavior

which is harmful or irrational.



                                      18
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 21 of 90 PageID 21




      36.   This psychological theory, which is unquestioningly accepted and

applied in Scientology, is not considered to be limited to a description of the

mind, but to also offer a basis for a practical science which purportedly can

cure many individual and societal problems. Scientology labels ordinary

persons, encumbered by their reactive minds, ‘preclears,’ whose mental

computers contain errant code that needs to be deleted. The goal of Dianetics

is to render people ‘clear’ of this errant, emotional code, thereby permitting

their unemotional, analytical minds to govern their behavior. Among other

things, Dianetics teaches that all mental disorders are caused by these

imprinted patterns in the reactive mind, which can be erased, curing the

mental illness. This concept is extremely broad and permits Scientology to

consider every behavior, feeling or thought that an individual may have, and

which is deemed by Scientology to be aberrant or deviant, to have been a

result of some error in their reactive mind that can be erased.

      37.   This theory is used by Scientology to justify the application of

highly abusive, destructive methods that enable it to manipulate, break down

and subsequently gain nearly complete coercive control over its subjects,

resulting in long-term emotional, psychological, and even physical injuries.

This theory is also used to justify odious forms of child abuse and the




                                       19
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 22 of 90 PageID 22




covering up of such abuses, including those inflicted upon the Plaintiffs

alleged herein.

            4.    Membership

      38.   So-called “public members” of Scientology typically live in their

own homes, earn livings working for businesses not owned by Scientology,

and pay annual membership fees to IAS and purchase materials and services

such as auditing at a local Scientology center. In contrast, Sea Org members

are required to sign billion-year service contracts, become increasingly

indebted to Defendants, live in residences on Scientology bases, and work for

low and even no pay as staff members in the various Defendant entities and

other Scientology-controlled entities and organizations.

            5.    Coercive Control

                  a.    Auditing

      39.   Defendants employ a manipulative process referred to as

“auditing,” which enables them to attain and exert control over members,

including Plaintiffs. Auditing is conducted by Defendant FSO’s operations at

Scientology centers around the world, which are required to provide facilities

for the procedure. Pursuant to Defendants’ policies, all members, including

children, are required to submit to auditing on a regular basis.




                                      20
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 23 of 90 PageID 23




      40.    The auditing process is conducted by an “auditor,” who is trained

to lead the subject through interrogation sessions that can last hours. All

audit sessions are thoroughly documented in auditors’ notes and audio or

video recordings of the sessions, which are compiled in permanent dossiers

for each member known as Pre Clear or “PC” folders that are maintained in

the ordinary course of Defendants’ operations. FSO Case Supervisors review

PC folders and provide “correction” to auditors who do not achieve expected

results. PC folders are also available to and reviewed by CMO and RTC

officers, who enforce Defendants’ exacting requirements for how auditors

conduct the sessions and monitor members’ compliance with their obligations

to submit to the process. RTC’s OIG agents and CSI’s OSA agents also access

and review PC folders to monitor members’ behavior and to obtain

information that can be used as leverage to control errant members and

defectors.

      41.    Nothing is out-of-bounds in an auditing session. Every memory

of past experiences, and each thought and aspect of the subject’s behavior is

explored in minute detail as the auditor repeatedly questions the subject

until the auditor is satisfied with the subject’s answers.

      42.    In an auditing session, the auditor seeks to establish a

relationship of trust with the subject. The auditor has absolute authority to



                                       21
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 24 of 90 PageID 24




guide the questioning, extract desired responses, and decide when the session

may be concluded. Subjects are not permitted to leave the room until the

auditor declares the session over. To reduce subjects’ resistance and lower

their guards, auditors are trained to remain low-key in their questioning and

to avoid reacting to what subjects disclose. Subjects are required to fully

answer all their auditors’ questions, including deeply personal and

compromising information that, if disclosed to others, would embarrass,

humiliate, and inflict personal costs on the subject (and, often, the subject’s

family). Through repeated interrogations of subjects, auditors identify and

document vulnerabilities that are used to manipulate, pressure, and coerce

members. Subjects are instructed to suppress feelings and emotions

connected to the information they are conveying, even when recounting

details of past traumas, which they are repeatedly told by their auditors are

the subjects’ own fault. This induces experiences of dissociation, which is

intended to normalize the extremely abusive superior-subordinate dynamic

that is central to Defendants’ operations.

      43.   Skilled auditors lead their subjects to admit having errant

thoughts or behaviors, or the withholding of such information in prior

sessions, which are thus known as “overts and withholds.” If a subject does

not admit to something sufficiently compromising, she or he is coerced into



                                       22
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 25 of 90 PageID 25




giving a false confession. Because failing to provide every detail of every

thought or experience to an auditor, or failing to self-report errant conduct, is

considered serious misconduct, auditors can trip up their subjects using

information gleaned from PC folders to identify some gap or missing detail, or

to elicit a response to a question that might be characterized as inconsistent

with a statement in a prior session. The subject is then required to admit to

intentionally withholding information, regardless of whether there was any

omission or if it was intentional. One way or another, once an auditor begins

to steer a session towards the objective of extracting admissions of

wrongdoing, it is pointless for the subject to resist, even if it means admitting

to things they never thought or did. Once a subject’s overts and withholds

have been documented, they are weaponized, the threat of disclosure held

over the subject’s head throughout their lives.

      44.   Auditing sessions can have a highly sexualized component, even

when the subjects are minors. Children are interrogated about sexual

thoughts and experiences that the children may not comprehend or have

experienced, and they often find that the only way out of an auditing session

(during which they may be locked inside a room with their auditor) is to

provide a false confession, making up stories about sexual conduct based

upon leading questions asked by their auditor.



                                       23
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 26 of 90 PageID 26




      45.   The auditing process thus lays the foundation for Defendants to

subjugate and control a large workforce. Along with the perpetual fear of

open disclosure of personal and damaging information, Sea Org members

internalize feelings of self-doubt, self-blame, guilt, and shame. When a senior

officer deems a Sea Org member to be insufficiently obedient or in need of

corrective discipline, they do not even need to send the member for auditing:

they can simply instruct the member to sit and write up their overts and

withholds, true or false, which have been routinized. They can verbally

abuse members in private or more open settings, knowing that they will

trigger a dissociative process that is useful in breaking members’ resistance

and will. And the interrogation-admission cycle becomes fully normalized,

generating expectations of punishment and acceptance of even more extreme

forms of the process whenever RTC or CMO officers impose it.

                  b.    Isolation of Children

      46.   The children of Sea Org members are separated from their

parents when they are infants. Children under six years old are cared for,

disciplined, and groomed for the “Cadet Org” by Sea Org members who hold

no qualifications to raise children. These Sea Org members discipline and

indoctrinate the children into Scientology. When their children are as young

as six years old, parents relinquish custody to Cadet Org, which prepares



                                      24
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 27 of 90 PageID 27




them for a lifetime of servitude under Defendants’ control. Once their

children are in Cadet Org, parents are stripped of their parental rights and

responsibilities; they do not make any decisions with respect to their

children’s living conditions, how their children are educated, what work

assignments they are given, or even how they are disciplined.

      47.   Scientology does not permit children of Sea Org parents to have

the kinds of early experiences, relationships, and activities that are critical

for healthy development. Scientology largely does not differentiate between

children and adults. Instead, children over six years old are considered to be

and are frequently told that they are adults, and that they should act and

expect to be treated as adults. They are not even called children; rather, they

must be referred to as “Cadets.” They are required to work jobs and immerse

themselves in Scientology’s indoctrination process, which takes priority over

their education, playtime, rest, and all other activities. Children are

considered a resource and personnel asset, required to complete various work

projects referred to as “Cadet Missions.”

      48.   Cadet Org is run by a Cadet Coordinator, a senior member of Sea

Org who reports to and takes direction from senior RTC and CMO officers.

To prevent parents from interfering with children in Cadet Org, except




                                       25
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 28 of 90 PageID 28




during very limited “family time,” parents are not permitted to communicate

with their children directly.

      49.      Family time for Cadets is limited to one visit per week, which can

be cancelled if either the child or parent is being punished for some alleged

transgression, or if the parent is assigned to a Scientology position at another

base. Children can be punished and deprived of contact with their parents

for offenses as minor as failing a “white glove” inspection of their living

quarters (where, if the white glove picks up any dust, the child fails the test).

      50.      Children raised in Defendants’ Cadet Org do not have any

contact with anyone in the outside world, and they are taught from a very

young age to distrust outsiders and all outside institutions. They are

frightened into believing that they will perish or suffer if they leave, and

stories of Sea Org members who have died or struggled outside the

community are held out as examples of this. From childhood, Sea Org

members must refer frequently to written Scientology materials, which

explain that people who leave or speak out against Defendants often become

sick or die.

      51.      Children who grow up in Defendants’ Cadet Org are deprived of

any meaningful education so that they are easier to manipulate and retain.




                                        26
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 29 of 90 PageID 29




Members often have no high school diploma or work experience outside of

Scientology to pursue other jobs and earn a living independently.

                  c.    Crime and Punishment

      52.   All transgressions, no matter how minor, are considered “crimes”

against the entire community for which various punishments are meted out.

Senior RTC, OSA, and CMO officers regularly meet and communicate with

Defendant Miscavige, report in detail on Sea Org members who are in poor

standing, or who have left Sea Org, or who have spoken out against

Defendants, and receive detailed instructions from Miscavige on how to quiet

or punish these individuals.

      53.   Defendants’ ethics policies strictly forbid any Sea Org member

from taking or instigating any legal action against Defendants, any Sea Org

member, or any other Scientologist, including filing lawsuits or reporting

abuse, assault, or other serious matters to law enforcement or child

protective services. This is done to protect Defendants and their leadership

from legal consequences and negative publicity.

      54.   A common punishment for what are often vaguely or arbitrarily

categorized as crimes is to assign an offending member the status of being in

a “lower condition.” In those circumstances, the member is required to

confess his or her crime, write up detailed overts and withholds, and make



                                      27
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 30 of 90 PageID 30




amends to the member(s) with whom he or she has a conflict, the entire

group that they are posted to, and to the supervisors of that group. While in

lower conditions, members are physically isolated, subjected to continual

surveillance, and prohibited from having contact with anyone else in the

organization until they have been deemed rehabilitated and can be

readmitted to the organization.

      55.   Members put in lower conditions often have their sensitive

personal information, derived from auditing sessions, written overts and

withholds, or other processes, posted in common areas where all Sea Org staff

on site can see it. This tactic is employed by Defendants’ officers to

encourage other Sea Org members to shun persons in lower conditions and to

subject them to humiliation and scorn.

      56.   Speaking negatively about or criticizing Defendants and their

officers, even in a private conversation with a fellow Sea Org member, is

considered a serious violation of Defendants’ “ethics” policies. Expressing a

desire to leave is an even more serious offense. Reporting mistreatment by

another Sea Org member results in a rapid response from RTC or CMO

officers, who coerce the reporting member into (falsely) admitting to having

fabricated the matter, which then results in severe punishment.




                                       28
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 31 of 90 PageID 31




      57.   Defendants’ abusive, punitive system is intended to and

frequently results in absolute obedience and silence. Lower ranking

members, including children, quickly learn that reporting mistreatment by

higher ranking members will result in punishment. If someone – including a

child – reports having been aggrieved or harmed by another Sea Org

member, no matter how severe the harm, the complaining individual is

pressured into accepting responsibility.

      58.   Sea Org members who violate Defendants’ ethics policies are

punished with “ethics handlings,” during which they are severely

interrogated, scolded, verbally abused, and systematically debased and

broken down until they accept responsibility for the problem and write a

confession of their “crimes.” Detailed records of ethics handlings are

maintained in ethics folders that are kept along with PC folders for every

member who has been subjected to a “handling.” The information and

confessionals in those folders are utilized by Defendants’ officers to exert

pressure on and coerce members (and former members) into submitting to

and complying with Defendants’ demands. Ethics handlings can last many

hours, and offenders can be subjected to days or even weeks of handlings,

until RTC or CMO officers deem the member to have been rendered

adequately submissive.



                                       29
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 32 of 90 PageID 32




      59.   A more severe form of punishment, usually reserved for those

who have been subjected to lower conditions, ethics handlings, and other

abusive treatment and who still do not perfectly comply with all the demands

placed upon them, is to be transferred to one of Defendants’ Rehabilitation

Project Force (“RPF”) sites. RPF sites are labor camps, heavily guarded,

often with fenced perimeters. Sea Org members may be sent to an RPF site

for a defined period, but more typically assignment to an RPF site is for an

indefinite period that can last months or even years, where members are held

and subjected to brutal conditions until Defendants deem them sufficiently

“rehabilitated” to return to their former post or be placed in a new post.

      60.   In addition, Cadet Org and Sea Org members can be forced to

submit to lengthy, intensive, scripted interrogations called “security checks.”

Ostensibly intended to ferret out individuals who may pose a risk to the

integrity of the organizations, security checks are highly abusive sessions of

indeterminate length in which subjects are repeatedly interrogated about

their thoughts and conduct, including about their sex and sexuality,

purported criminality, contacts with law enforcement and other government

agencies, and other thoughts and behaviors deemed errant by Defendants.

      61.   The design and effect of these sessions is to break the members’

will and achieve absolute compliance by altering their perception of their



                                       30
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 33 of 90 PageID 33




thoughts and experiences, instilling deep feelings of guilt, shame, self-doubt,

and fear, even for things they have never really thought or done. Security

checks also reinforce Defendants’ demands for absolute secrecy regarding all

internal matters. For example, the security check script for children

includes, among its 99 questions, the following: “Have you ever spoiled things

for somebody?” “Who have you made feel guilty?” “Have you ever tried to

make others believe that your parents, or teachers, were cruel to you?” “Have

you ever offered as an excuse for something you have done wrong that you

are only a child, or that you haven’t grown up yet?” “Have you ever been a

coward?” “Have you ever made too much fuss over a little hurt?” “Have you

ever made out that you were more badly damaged than you were in order to

make someone stop picking on you?” These hours-long sessions, in which

interrogators focus repeatedly on the same question until they get the answer

they want, are designed to establish complete dominance over members,

including children.

      62.   Years of intensive auditing, ethics handlings, security checks,

and the many other punishments meted out for alleged “crimes” cause serious

psychological harm. Having to live day-to-day in fear of punishment for the

often-false confessions members are coerced into providing is itself traumatic.

Existing in this intentionally fear-inducing environment throughout their



                                      31
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 34 of 90 PageID 34




childhoods and formative years leaves them broken, unable to fend for

themselves, or defend against the continued abuses inflicted on them even

after they reach adulthood. That deep, primal fear is Defendants’ objective,

and it never dissipates. Believing the world to be even more dangerous than

Sea Org, many members accept their subjugation and continue to acquiesce

to even the most outrageous and unreasonable demands. Even those who

leave cannot escape the pervasive fear of consequences for anything

Defendants consider to be in violation of their extremely coercive policies.

            6.    The Consequences of Defecting

      63.   Miscavige and high-ranking RTC and CMO officers direct the

enforcement and implementation of the stringent and abusive policies

dictating how Sea Org members may leave the organization. All Defendants

are aware of the aforementioned policies and support their implementation

and use. The result is that very few members are able to safely leave. Among

other things, defecting from Scientology can mean being declared a

“Suppressive Person” and cut off from all contact with family members,

friends, and employers, because anyone within Scientology who maintains

any contact with a Suppressive Person is deemed guilty of a crime and

subject to punishment. For people who have been raised in Scientology,

being shunned is devastating and untenable; it means being completely cut



                                       32
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 35 of 90 PageID 35




off from the only community they have known, including in many cases their

family, as well as their source of meals, housing and necessities.

      64.   Miscavige and the corporate Defendants, through RTC, OSA, and

CMO, closely monitor defectors and persons they have declared to be

Suppressive Persons, and frequently harass, intimidate, and terrorize them,

should they criticize Defendants in any manner. OSA is, among other things,

Defendants’ intelligence and black ops arm, coordinating spying on and

retaliating against Sea Org defectors and other purported enemies of

Defendants. In addition to the detailed information already possessed by

Defendants in defectors’ PC and ethics folders, investigators working for

Defendants go through defectors’ garbage looking for “dirt,” monitor their

movements and communications, and dig into the backgrounds of defectors’

relatives, friends, and co-workers, searching for vulnerabilities that can be

used to pressure and manipulate defectors.

      65.   In one widely reported case, a private investigator working for

Defendants was arrested near a defector’s house after a neighbor reported a

suspicious person loitering and looking into the window of a house. A search

of his vehicle turned up multiple firearms, large amounts of ammunition, an

illegal silencer, GPS tracking devices, cameras, and other surveillance

equipment. The investigator admitted to the police that he and his son had



                                      33
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 36 of 90 PageID 36




been working for Defendants for two years, tracking the defector’s every

move, listening in on his conversations, and even recruiting persons to

befriend the defector to monitor him more closely. He told police that he was

required to report hourly to one of Defendants’ agents on the defector’s

moves, every person the defector met, and every conversation that the

defector had if anything was said that might be of interest to Defendants.

When the police informed the defector and checked his car, they found a GPS

tracking device that the investigator had planted.

      66.    Similar to the redundant structure of RTC and CMO, Defendants

have even employed investigators to monitor the investigators tracking

defectors.

      67.    In addition to being spied on, defectors can face harsh retaliation

that can preclude building and maintaining a life outside of Scientology. For

example, Defendants direct the creation of defamatory websites using the

defector’s name, thus ensuring that a Google search of the defector brings up

the site. These websites accuse defectors of lying about their experiences in

Scientology, post photos of the defector smiling and the positive testimonials

she or he made during coercive auditing sessions prior to their escape from

Scientology, as well as declarations of other members attesting to the positive

experience the defector had. Defendants, through their members, maintain



                                       34
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 37 of 90 PageID 37




such a website targeting Plaintiff Valeska Paris:

http://www.valeskaparis.com/.

      68.   Defendants’ retaliation tactics can escalate, aiming to damage

defectors’ reputations; agents of Defendants will picket defectors’ places of

employment, residences, and neighborhoods with posters falsely accusing the

defector of crimes of moral turpitude, such as child molestation, to humiliate

and destroy the lives of those defectors. Defendants’ agents have confronted

defectors outside their homes, workplaces and even in airports, yelling and

accusing them of wrongdoing. These tactics are well known among members

of Sea Org as part of the arsenal of weapons Defendants can deploy, and that

knowledge alone intimidates many Sea Org members from ever leaving.

      69.   Additionally, Defendants’ leaders and most zealous adherents

proclaim that “Suppressive Persons,” are “fair game,” meaning that there are

no limits to the magnitude of retaliation visited upon that person.

Defendants’ policy on “Counter-Attack Tactics” dictates that defectors’ post-

Scientology employment is a particularly significant vulnerability and that

retaliation should aim to cause the defector to lose his or her job. If the job is

not perceived as being sufficiently valuable to the defector, or if Defendants

through their members fail to cause the person to lose their job, anything

important to that defector should be targeted.



                                        35
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 38 of 90 PageID 38




      70.   Defectors who have taken legal action against Defendants and

their members have been subjected to extreme forms of retaliation. Very

recently, several defectors who had reported rapes and subsequent coverups,

and at least one person close to them, have accused Defendants of poisoning

their pets, breaking into their homes, fraudulently re-registering one of their

vehicles and reporting it stolen, and even arson. After filing a lawsuit

against Defendants for these acts, they suffered additional retaliation.

      71.   There are also consequences for the family members of a defector

who are still in Scientology; if a defector is declared a Suppressive Person, the

remaining family may be deemed “Potential Trouble Sources,” which can

result in around-the-clock surveillance, traumatic ethics handlings and

security checks to satisfy Defendants that these persons are fully disengaged

from any contact with the defector.

      72.   These tactics and events are well-known to people who leave

Scientology. As a result, many defectors go into hiding or even change their

names. Most struggle for years before they can summon the strength and

courage necessary to seek medical services, mental health counseling, or to

speak with attorneys or law enforcement about what they experienced while

living in Scientology. Many struggle silently for the remainder of their lives,




                                       36
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 39 of 90 PageID 39




fearful of the consequences they will face if they take any action against

Defendants.

            7.    The Abusive Formal Process for Leaving Scientology

      73.   The only way to leave Sea Org without immediately exposing

oneself and one’s family to the consequences of being declared a Suppressive

Person is to suffer a litany of abuses in a process called “routing out,” which

includes weeks or months of auditing sessions, ethics handlings and security

checks to stamp out any thoughts or designs counter to Scientology. During

this period, the subject is isolated and placed under twenty-four-hour

surveillance. At Flag Base, individuals who express the desire or intent to

leave, and those who have attempted to leave without routing out, are

detained in a bare room in a parking garage, where they are guarded around

the clock and permitted to leave the area only with an escort to attend hours-

long ethics handling and security check sessions. The routing out process is

not intended to provide a means for departure, it is intended to break a

member’s will to depart and to agree to submit to rehabilitation, often at one

of Defendants’ RPF sites.

      74.   Members who manage to resist this coercion are only permitted

to complete the process once they have been psychologically broken and

physically weakened. The last step in routing out is for the member to be



                                       37
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 40 of 90 PageID 40




placed in a room where high-ranking officers compel him or her to sign

documents. No explanation is provided concerning the contents of the

documents, and the member has no opportunity to review them, seek advice

from any outside persons or even keep copies of the documents.

      75.   Departing Sea Org members who grew up in Scientology have

little ability to understand the documents or the consequences of signing

them. Having endured a lifetime of abuse and weeks or months of routing

out mistreatment designed to break their will, departing members have no

meaningful choice other than to sign the documents in order to be permitted

to leave the room and leave Scientology.

      76.   Sea Org members know that if they leave without permission,

Scientology security will comb airports, train stations, bus stations, and

hotels, track their credit cards, and scour their PC and ethics folders for clues

as to where the person who escaped might be found. Security will then force

the person to return to their base for routing out. People confined to the

Freewinds have an additional obstacle: security confiscates their passports

when they board the ship, so even if they escape from the ship, they are

unable to travel freely. Security has been known to chase down people who

escape the Freewinds, force them to return to the ship, confine, and place

them under constant surveillance.



                                       38
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 41 of 90 PageID 41




      77.   For an individual who grew up in Scientology and who is

impoverished, in debt, and without meaningful education or life skills, it is

nearly impossible to simply walk away. Many members linger for years,

accumulating trauma on top of trauma, until finally mustering the courage to

slowly, and very quietly, allow for some distance between themselves and

Scientology. This process can take years. When children who grew up in Sea

Org find the strength and courage to quietly leave, they are still operating

under a set of beliefs inculcated in them since childhood, including that

anything done to them or wrong with them is their fault. Because they are

raised to believe that psychology and psychiatry are the most dangerous

elements in society, it can be years before they understand that they have

been traumatized and require mental health counseling or therapy. Due to

their deep distrust of authorities and the legal system, and no understanding

at all of the concept of legal rights, it can also take years for survivors to

appreciate that Defendants caused injuries warranting the seeking of legal

advice or reporting to authorities. Defendants’ possession of each person’s

voluminous PC and ethics folders gives them added leverage, because those

files contain coerced “confessions,” as well as valuable information regarding

each person’s fears and vulnerabilities. The ever-present threat of retaliation




                                        39
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 42 of 90 PageID 42




is almost always sufficient to prevent defectors from ever taking any action

against Defendants.

      C.    FACTS SPECIFIC TO PLAINTIFFS

            1.    Plaintiff Gawain Baxter

      78.   At two months-old, Gawain Baxter’s parents placed him in Cadet

Org nursery in Clearwater, Florida. At age six, Gawain became a member of

Cadet Org and was required to sign a contract pledging to serve Sea Org, in

essence the Defendants, for one-billion years. As a member of Cadet Org,

Gawain had minimal schooling; time most children spend in school learning

reading, writing, arithmetic, critical thinking, civics, and developing basic life

skills was instead devoted to providing labor and services for various

Scientology-affiliated groups, organizations, and entities, including

Defendants.

      79.   Gawain was separated from his parents, and forced to live in a

dormitory, a repurposed Quality Inn, with around one hundred other

children, sleeping on bunk beds in crowded shared rooms. Cadet Org was

overseen by Cadet Coordinator, Rusty Hilton, who reported to Victor

Sanchez, the FSO senior executive on Flag Base in charge of Flag Crew and

Flag Service Organization operations. Initially, Gawain was permitted to

visit his parents every evening at dinner. But at approximately ten years old,



                                       40
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 43 of 90 PageID 43




Gawain was permitted to visit his parents only once a week for about three

hours and was often limited to a single monthly visit if he was in “lower

conditions,” such as after a negative cleanliness inspection or if he had tried

to overstay his allotted time with his parents on a previous visit. Sea Org

parents lived in quarters approximately twenty to thirty minutes’ drive from

Cadet Org dormitory. Children were bussed to and from parents’ quarters

and had no means to independently visit their parents outside of this highly

controlled system.

       80.   From the ages of six to fourteen, Gawain was not permitted to

attend any accredited public or private school. Instead, schoolwork consisted

of two to three hours per day of basic reading, writing, and math in a

classroom of thirty other children, under the supervision of Linda Hilton,

Cadet Coordinator’s spouse. Beginning when Gawain was ten years old, he

was required to spend one to two hours daily in Scientology indoctrination

courses as well. The cost of each course was recorded as a debt that Gawain

was told he would owe if he ever left Cadet Org or Sea Org. As he grew up,

and throughout his life in Scientology, he was regularly reminded that he

would be responsible for paying this mounting debt should he ever leave Sea

Org.




                                       41
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 44 of 90 PageID 44




      81.   Following daily schoolwork and Scientology indoctrination,

Gawain was forced to provide five to ten hours a day of unpaid work at Flag

Base, including food preparation, trash removal, landscaping, and clerical

work. During staff shortages, Gawain was made to work full-time and skip

his schoolwork entirely. At age thirteen, Gawain was provided a stipend of

eight dollars per week, which was contingent on his completing his training

courses and performing his work to the satisfaction of Cadet Coordinator.

Gawain used this paltry amount to purchase necessities, including his

toiletries and shoes.

      82.   When Gawain was fourteen, he was transferred from Cadet Org

to Sea Org. A prerequisite to joining Sea Org was the completion of the

Estates Project Force (“EPF”), a bootcamp at Flag Base. Without informing

the Cadets about where they were going, or the purpose, Jim Sedeko, Cadet

Coordinator at the time, put Gawain and a group of other children on a bus

from their dormitory to Flag Base, where Victor Sanchez and another

individual filled out an intake form and demanded that Gawain sign it and

start working on the EPF. Gawain did not want to join the EPF but had no

choice, because if he resisted or disagreed, he would be punished with lengthy

and abusive security checks, ethics handlings, and possible expulsion and

homelessness. He was also aware that his parents would be punished for his



                                     42
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 45 of 90 PageID 45




resistance, as was common practice in Sea Org. For the three-month period

that he was on the EPF, Gawain was required to perform physical labor,

including renovating a building, cleaning other facilities, and landscaping for

twelve or more hours per day, and to spend an additional five hours each day

immersed in Defendants’ indoctrination programs. During this entire period,

Gawain was sleep-deprived, given inadequate time to eat, and verbally

abused by his adult supervisors, including the senior officer in charge of EPF,

Dave Englehart, the Commanding Officer of Flag Crew, Laurie Englehart,

and the CMO Commanding Officer, Angie Blankenship.

      83.   After three months working on EPF, Gawain transitioned to Sea

Org. Shortly thereafter, Gawain wrote a letter to Javier Martinez, a senior

RTC officer at Flag Base, requesting permission to leave Sea Org because he

was continually subjected to verbal abuse and intolerable living conditions.

Shortly thereafter, Danny Light, a high-ranking IASA officer from the

Freewinds who was at the time located at Flag Base, verbally abused and

screamed at Gawain for having sent the letter and demanded that he call

Martinez and falsely confess to fabricating the allegations of mistreatment in

the letter. Gawain was frightened by threats of serious punishment and

complied. Light and others thereafter punished Gawain for writing to

Martinez, forcing him to write up confessions to “crimes,” make amends to



                                      43
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 46 of 90 PageID 46




those about whom he wrote his letter by doing work for them, and complete

intensive security checks. Gawain wanted to leave Sea Org, but he knew he

would be punished and possibly put out on the street, so he had no

meaningful choice but to stay. At only fifteen years old, with little education,

no money or support system, the belief he owed Defendants a substantial

sum of money, and no life skills, Gawain knew he could be declared a

Suppressive Person and permanently separated from his family (who would

also be punished for his alleged transgressions) and from the Scientology

world, which was all he knew, to be cast into a frightening world in which he

had been long taught that former Sea Org members met awful fates,

including death.

      84.   After Gawain completed his punishments for writing the letter,

he was informed that he would be assigned to work on the Freewinds. As a

prerequisite to being sent to the Freewinds, Defendants subjected Gawain to

additional highly abusive security checks. During the sessions, an FSO

officer, Natalie Galbiatti, and another individual, interrogated Gawain about

every aspect of his life, including explicit questions about his sexual

experiences, affiliations with intelligence and law enforcement agencies, past

criminal behavior, and drug use. In each session, his interrogator prohibited

him from leaving the room until he provided answers to his interrogator’s



                                       44
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 47 of 90 PageID 47




satisfaction. Even though Gawain had engaged in absolutely none of the

conduct he was being questioned about, Moxin and Galbiatti required him to

undergo dozens of these interrogations, each of which lasted for up to twelve

hours.

      85.   Eight months later, after completing the security checks and the

EPF program to the satisfaction of the EPF senior officer, Dave Englehart,

Gawain was transported from Clearwater to Tampa and then flown to

Curacao, where he was forced onto the Freewinds. Once aboard, Freewinds’

security confiscated Gawain’s passport, immigration documents, and

identification documents to prevent him from escaping and to force him to

provide free labor and services.

      86.   During his time on the ship, Gawain was forced to perform

arduous physical labor and menial tasks and punished for any failure to fully

comply with the commands of higher-ranking Sea Org members. Gawain

suffered from sleep deprivation and was always anxious and fearful that

anything he said or asked might be interpreted as rebellious and result in

physical or mental punishment.

      87.   On the ship, Gawain worked between sixteen and twenty-four

hours per day, including manual labor such as repainting pipes, cleaning the




                                      45
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 48 of 90 PageID 48




ship’s deck, preparing food in the kitchens, and serving as a steward for the

crew, as well as administrative work for Defendant IASA.

      88.   Work assignments on the Freewinds were often dangerous. In

Gawain’s first year on the ship, Janet McLaughlin, the senior most IASA

officer on the ship, ordered him to squeeze into fuel tanks and clean them by

lantern in the dark, without a respirator or other protection from fumes. The

tanks were a meter high by a meter wide and a meter deep, and Gawain had

to crawl from tank to tank.

      89.   Around eight months after boarding the Freewinds, Gawain

again expressed a desire to leave Sea Org (and thus the ship). In response,

Ewa Ronnquist, a senior officer on the ship, placed him under severe

restrictions on Janet McLaughlin’s orders. Officers now considered him a

security risk and did not allow him on any part of the Freewinds that was not

monitored by cameras.

      90.   Around ten years after Defendants first forced Gawain into

service on the ship, the Freewinds underwent extensive renovations. During

this time, Gawain worked more than eighteen hours per day and was exposed

to blue asbestos6 and concrete dust. He soon became ill, coughing up blood.


6“Crocidolite asbestos, also known as blue asbestos, is considered the most
hazardous type of asbestos in the amphibole family. Crocidolite is made up of
extremely fine sharp fibers that are particularly easy to inhale. Studies show
that crocidolite is so hazardous, it may be responsible for more illnesses and

                                      46
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 49 of 90 PageID 49




Gawain was not provided with a mask or any protective equipment, and they

did not permit Gawain to see a doctor or seek medical care. Gawain was

granted a brief rest period and ordered to resume working once he ceased

coughing up blood. Gawain knew that any additional time he spent on

bedrest meant that other Sea Org members would have to make up for his

work in his absence. At this time, numerous other Sea Org members were

also sick and on bedrest.

      91.   Gawain’s supervisors also physically abused him. For instance,

Raymond Feneck (“Feneck”), the kitchen manager, struck Gawain hard on

both sides of his head. When Gawain reported the assault, Feneck wrote a

negative report about Gawain, resulting in Gawain being assigned to lower

conditions and required to write a confession of his “crimes,” including taking

responsibility for causing Feneck to assault him.

      92.   For all of this, Gawain was supposed to be paid fifty dollars per

week, out of which he purchased his toiletries and other personal items.

Gawain was often denied full pay, at times going weeks without

compensation, sometimes because his shipmates had failed to meet their own

performance targets.


deaths than any other type of asbestos.”
https://www.pennmedicine.org/cancer/types-of-cancer/mesothelioma/asbestos-
cancer/types-of-asbestos


                                      47
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 50 of 90 PageID 50




            2.    Plaintiff Laura Baxter

      93.   Laura Baxter grew up in Scientology, serving on the staff of a

local Scientology organization in Germany. At age seven, when she first

learned to read and write, Laura’s mother signed her up to take Scientology

courses for up to three hours per course, twice a week. At age fifteen, Laura

became a staff member at Defendants’ local organization in Stuttgart. As a

condition of being on staff, Laura was required to undergo auditing and other

checks.

      94.   When Laura was sixteen, she was manipulated, pressured, and

coerced by a FSSO Sea Org recruitment officer to sign a contract pledging to

serve Scientology for life within Sea Org.

      95.   Laura was forced to travel to the United Kingdom to start the

EPF as a prerequisite to joining Sea Org. Because she was a minor, Laura’s

mother signed over guardianship of Laura to Freddie Hunkeler, a Sea Org

member and senior IASA officer at the UK site where Laura was sent. For

the period that Laura was on the EPF, she was required to spend eight to ten

hours per day performing arduous physical labor, including digging trenches,

cleaning toilets and dumpsters, and landscaping under the supervision of the

senior officer in charge of EPF. Laura was paid the equivalent of twenty-five




                                      48
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 51 of 90 PageID 51




dollars per week. During this time, Laura was denied adequate time to eat

proper meals or take breaks.

      96.   After one-month, Laura transitioned from the EPF to Sea Org

and she was told she would work for Defendant IASA on the Freewinds under

IAS President Janet McLaughlin. As a prerequisite to being sent to the

Freewinds, Laura was subjected to a series of intense, manipulative, and

emotionally abusive security checks. During these interrogation sessions,

Laura was repeatedly asked a series of sexually explicit questions, as well as

questions about her affiliations with law enforcement or intelligence

agencies, past criminal behavior, and drug use. Laura was forced to undergo

dozens of these interrogations, each of which lasted for up to twelve hours

during which she could not leave the room except to eat or use the bathroom.

      97.   Accompanied by her IASA guardian, Hunkeler, Laura was then

transported from England to Miami, Florida, and then to Curacao, where she

boarded and began working on the Freewinds in IASA files administration.

She was forced to work long hours, was given no days off, and was paid

twenty-five dollars per week.

      98.   At age seventeen, Laura was told her experience in Sea Org was

inadequate and that she required more training. She was removed from the

Freewinds and sent to Defendants’ European Base in Copenhagen as a



                                      49
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 52 of 90 PageID 52




member of the IASA staff. Laura was forced to work as many as eighteen

hours a day, cleaning offices, making travel arrangements for staff members,

soliciting recruits for staff, and soliciting donations to the IASA. Laura was

paid the equivalent of fifty dollars per week.

      99.   After approximately two years, Laura was informed she would be

transferred back to the Freewinds. Prior to her transfer, although Laura was

a healthy weight, she was forced to overeat until she gained seven kilograms

(more than ten percent of her normal weight) in a short period of time. Once

she was returned to the ship, security confiscated Laura’s passport,

immigration documents, and identification documents for the purposes of

eliminating any ability to escape and coercing Laura into providing labor and

services.

      100. Once aboard the ship, Laura was required to work between

twelve to fifteen hours per day as a files administrator.

      101. In 2004, a celebrity actor celebrated his birthday aboard the

Freewinds at Miscavige’s invitation. Janet McLaughlin (who knew Laura

had been instructed by other officers to be present at the gathering) falsely

accused Laura of trying to monopolize the actor’s attention and ordered a

senior officer, Ken Pirak, to take her into a small room where MacLaughlin,

Pirak, and two other IASA officers, Lise Cohee and Karleen De Simone,



                                       50
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 53 of 90 PageID 53




screamed abusively at her. Laura was then confined to the extremely hot

engine room for three days, allowed to leave for only a few minutes at a time

for meals and to return to her room for a few hours of sleep.

      102. As a result of the alleged incident at the party, for the next two

months, Laura was subjected to handling sessions, assigned to a lower

condition, forced to confess to alleged crimes against Scientology, and to make

amends. During this period, Laura was not allowed to receive pay and was

confined to an office during the day and to her room at night, under twenty-

four-hour surveillance, and only permitted to leave her room for

interrogations or when she was accompanied by another Sea Org member.

Laura was not permitted to leave her room unaccompanied even to use the

bathroom. On one occasion, she was forced to urinate into a trash can for fear

of being punished if she went to the bathroom unaccompanied. Additionally,

Laura was forbidden from communicating with anyone except the specific

Sea Org members who were her handlers at the time, including Ken Pirak.

For the following four months, Laura was confined to her room and only

permitted to leave to study Defendants’ ethics policies for up to 14 hours per

day, with fifteen-minute meal breaks and bathroom breaks.

      103. Following this period of punishment, Laura was deemed unfit to

work in IASA, and she was demoted to a position as crew steward in the



                                      51
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 54 of 90 PageID 54




FWSO, where she was forced to work twelve to eighteen hours per day

unloading deliveries of food to the ship, organizing and cleaning the food

storage rooms and walk-in fridge and freezer, preparing food, and cleaning

the kitchens.

      104. During Laura’s time on the ship, she suffered from sleep

deprivation and was constantly fearful that anything she said might result in

punishment. Laura was paid fifty dollars per week for her labor, out of which

(if she was lucky enough to receive her full pay), she purchased clothing and

other personal items. Laura rarely saw her full pay and often went weeks

without compensation, which her superiors justified by claiming that she was

guilty of unnamed and unsubstantiated transgressions, or that her shipmates

failed to generate a required level of revenues.

      105. During renovations of the Freewinds, Laura was exposed to blue

asbestos and concrete dust, but she was not provided with a respirator or any

other protective equipment. Sea Org members were afraid to say anything to

any officers on the ship, because even raising the concern would have been a

“high crime” for which they would have been severely punished.

            3.    Plaintiffs Gawain Baxter and Laura Baxter
                  Meet and Marry

      106. Gawain met Laura on the Freewinds, and they wanted to have a

relationship, but ship officers, including Janet McLaughlin, Colm


                                       52
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 55 of 90 PageID 55




McLaughlin, Melissa Deness, Rob Napier, Ken Pirak, Lucia Keating, and

even ship Captain Mike Napier systematically interfered. So long as they

were single, Gawain and Laura were easy targets for manipulation and could

be kept apart for significant periods through changes in job assignments,

restrictions, and punishments for purported transgressions. Knowing that

married staff were far less likely to experience such interference, Gawain and

Laura eventually decided to get married. Ship staff are not permitted to

marry without the permission of the Captain of the Freewinds. Obtaining

permission typically took one to two weeks. But when they informed senior

officers that they wanted to get married, Gawain and Laura were forced to

wait three months before being given consideration and, when they were

finally allowed to marry, they were prohibited from living together for

another six months.

      107. After marrying Laura, Gawain began to consider the possibility

of a different and better life in the world that Scientology had taught him to

distrust. But escaping was not an option: Defendants considered even

communicating the intent to leave Sea Org a high crime, punishable by the

most severe repercussions, including assignment to arduous physical labor,

confinement to the engine room, and even possible rendition to an RPF site

for “rehabilitation.” Eventually Gawain discussed this with Laura, and they



                                      53
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 56 of 90 PageID 56




decided they wanted to leave the ship and Sea Org. But they needed to figure

out a way to accomplish this departure without enduring the tremendous

consequences they would suffer if they attempted to leave without the

Defendants’ permission.

      108. Laura and Gawain eventually came up with a plan. Defendants

had enacted a ban on Sea Org members having children, and pregnant Sea

Org members were being coerced into terminating their pregnancies.

However, this forced abortion policy was also beginning to receive negative

media attention. Gawain and Laura decided that the only way they could

leave, if at all, without suffering dire consequences, would be for Laura to

become pregnant in advance of Defendant Miscavige’s next visit to the

Freewinds. A pregnant Sea Org member would cause Miscavige to direct his

wrath towards the senior Sea Org officers. They concluded that, if it were

known to senior officers on the ship that Laura Baxter was pregnant and

would not terminate her pregnancy, they would be required to leave the ship

and Sea Org.

      109. Thus, Laura deliberately became pregnant. Because ship crew

did not have access to pregnancy tests, and wanting to reduce the chance of

being forced to terminate her pregnancy, Laura waited several months to see

Marjorie Laughlin, the ship’s medical officer, who confirmed the pregnancy



                                       54
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 57 of 90 PageID 57




and reported it to senior officers on the ship, including the ship’s RTC

executive, Lurie Belotti, the commanding officer of CMO, Sue Price, a senior

FSSO officer, Max DeGroot, Paolo Coccodo, Bill Bragg, and Captain Mike

Napier.

      110. Max Degroot and another officer then attempted to pressure

Laura and Gawain into agreeing to terminate the pregnancy. Laura and

Gawain refused to terminate the pregnancy and were required to undergo

ethics handlings and security checks as punishment. In drawn out

interrogation sessions, a ship officer, Jodie Zagary, berated Gawain for

getting his wife pregnant and for not forcing her to terminate her pregnancy.

In addition to undergoing this series of severe “handlings,” Laura and

Gawain were isolated from the ship’s staff and put under full-time

surveillance under the supervision of ship security, including Peter Ramaker.

      111. After weeks of punishments and isolation, with Defendant

Miscavige’s visit approaching, it became clear to the ship’s officers that Laura

was not going to terminate her pregnancy, and Max DeGroot told Laura and

Gawain that they would be leaving the ship. However, before returning

Laura and Gawain’s passports and identification documents, Krister Nilsson,

an officer working under the direction of Ludwig Alpers, the Freewinds Port

Captain, compelled Laura and Gawain to sign a series of documents while



                                       55
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 58 of 90 PageID 58




being videotaped. This was a policy and process developed, implemented, and

supported by Defendants to create the facade of a voluntary, informed, and

consensual process. Laura and Gawain were not given an opportunity to

examine the documents, make copies, or find anyone to help them review and

understand them. If Laura and Gawain refused to sign the documents, they

would have been required to undergo additional punitive ethics handlings

and security checks and would have been denied their travel and identity

documents. They were trapped on the ship, and the only way off was to

submit to the demands of the Defendants and sign the documents.

      112. Before permitting them to leave, Peter Ramaker, ship security,

also confiscated Gawain’s computer and deleted photos from the hard drive

documenting his time on the ship, because they considered those photos a

threat to Defendants.

      113. Laura and Gawain Baxter were traumatized as a result of their

experiences in Sea Org and aboard the Freewinds and suffer emotional harm

on an ongoing and continuing basis. Gawain also continues to suffer from the

physical injuries he incurred while on the ship.

      114. Laura and Gawain are regularly intimidated by phone calls from

Scientologists, purportedly seeking to confirm their contact information and

soliciting them to resume participation in Scientology, including auditing.



                                      56
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 59 of 90 PageID 59




These calls are intended to remind them that Defendants continue to monitor

them and test the extent to which they pose a risk to Defendants. Laura and

Gawain exercise an abundance of caution when responding to these callers

because they fear telling them to stop will result in severer forms of

harassment. Blocking these callers is not useful, because they call from

different numbers.

            4.    Plaintiff Valeska Paris

      115. Valeska Paris’s parents were members of Scientology. From the

age of four years old, Valeska was subjected to a Scientology training routine

during which she was screamed at, verbally abused, and forced to listen to

graphic descriptions of sexual content for hours at a time to condition her not

to be upset or show any visible reaction and retain her composure in the face

of verbal assault. This abuse continued throughout her childhood and

teenage years. Once she learned to write, she was often forced to write up

false confessions of Scientology crimes, which would be used against her

throughout her time in Scientology.

      116. At age six, Valeska’s father became a member of Sea Org and her

parents enrolled her in Cadet Org. She was required to sign a contract

pledging to serve Sea Org, and thus the Defendants, for one-billion years.

When Valeska’s parents divorced, Valeska’s father was granted sole custody



                                       57
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 60 of 90 PageID 60




of her and her siblings. Valeska was separated from her mother, who was

taken from the family by two Sea Org members and not permitted to say

goodbye to her children or tell them when they would see her again. Initially,

Valeska was permitted to visit her father for an hour every evening at

dinner. Beginning when Valeska was nine or ten years old, Valeska was only

rarely permitted to see her father. Shortly thereafter, Defendants

implemented a policy cancelling family time altogether.

      117. Valeska was one of about one hundred children, ranging in age

from newborn to fourteen, who lived in the dormitories at Stonelands, in

England, near Scientology’s UK base, Saint Hill. Valeska spoke only French

and felt isolated from the other children and adults who spoke only English,

until she learned to speak English. Valeska was distraught at being

separated from her mother, but adult Sea Org members responsible for Cadet

Org reprimanded her for being “dramatic” and punished her by forcibly

dragging her to the galley and making her wash pots and pans. Children in

Cadet Org were supervised by Dominique Feldmester, Cadet Coordinator,

along with other senior personnel including Dominique’s husband, Jeremy

Feldmester.

      118. As a member of Cadet Org in England, Valeska had minimal

schooling; she attended Greenfields, a Scientology run school where the only



                                     58
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 61 of 90 PageID 61




curriculum is a Scientology check sheet used to apply Scientology

indoctrination techniques such as “word clearing.”7 Valeska was also

regularly disciplined using Scientology punishments including writing up all

of the alleged wrongs and crimes she had been led to believe she committed.

Following school, Valeska was required to devote two hours a day to the

study of Scientology. The cost of each course was recorded as a debt that she

was told she would owe if she ever defected from Sea Org. As she grew up,

and throughout her life in Scientology, she was regularly reminded that she

would be responsible for paying this mounting debt should she ever leave.

      119. Every day, Valeska and the other Cadet Org children performed

five hours of unpaid work for Scientology-affiliated entities, including

cleaning the premises with harmful chemicals, landscaping, washing dishes

and providing childcare for the newborn babies. Defendants’ policy was to

permit children one day off every two weeks, and only if they were not in




7 Word clearing is the method Scientology schools employ to teach children
reading skills. Children work independently with assigned material,
including portions culled from Scientology teachings and the writings of L.
Ron Hubbard. They are required to look up and memorize definitions of the
words in a given selection, and to recite definitions of words on demand by an
instructor. When a child can provide a definition for any word in a selection,
she or he is said to have “cleared the words,” and moves on to another
selection. Unlike traditional, accepted teaching methods, Scientology schools
do not teach grammar, writing, reading comprehension, critical thinking, or
other analytical skills necessary to do more than perform rote tasks.

                                       59
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 62 of 90 PageID 62




lower conditions. Valeska was not trained or provided any protective

equipment, resulting in physical injuries.

      120. Defendants’ policy was to routinely deny children in Cadet Org

proper medical care; if they became sick, they were excused from working

that day and isolated in their dormitory. Valeska was denied medical

treatment when she contracted the mumps, per Defendants’ policies.

      121. Physical violence and sexual abuse were commonplace in Cadet

Org. On one occasion, Valeska walked in on an adult Sea Org member, who

was responsible for the children, masturbating on a boy’s bed. Valeska

reported the incident to Dominique Feldmester, who reprimanded her for

making the report.

      122. When Valeska was eleven years old, a twenty-year-old male Sea

Org member told her that he was trying to hide from Sea Org staff and

demanded that she lie on top of him in her bed to conceal him. Valeska, who

had been trained to obey the commands of Sea Org members, complied.

When Valeska reported the incident, she was taken to Saint Hill Manor, the

former home of Hubbard in England, where a CMO officer, Tony Langley,

interrogated her about the incident for four hours without a break and then

accused her of having sexual intercourse with the man. Cadet Coordinator,

Dominque Feldmester, and Paula Cronin then punished Valeska by



                                      60
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 63 of 90 PageID 63




assigning her a lower condition and requiring her to falsely confess to having

sex with the man.

      123. When Valeska was twelve years old, Jeremy Feldmester ordered

her into a room with him to confess to “crimes” she committed, or alleged

sexual acts and thoughts she had, while he stood over her menacingly. When

Valeska called Jeremy Feldmester a pervert, Dominque Feldmester put

Valeska in lower conditions for a period of six months. Valeska later learned

that Jeremy Feldmester was a sexual predator who had installed cameras in

the rooms at Stonelands, so that he could watch female children undress.

      124. When Valeska was thirteen, Janine, the commanding officer, told

her that she had accumulated substantial freeloader debt for the courses and

auditing she had gone through, and threatened to kick Valeska out of where

she lived if she did not join Sea Org.

      125. When Valeska was fourteen years old, she traveled to Flag Base,

in Clearwater, Florida. There, she joined Sea Org, with which, she was

reminded, she had signed a lifetime service contract when she was six years

old. Among other things, as is Defendants’ policy, she was threatened that if

she did not re-sign Defendants’ billion-year service contract and join Sea Org,

she would be kicked out of Cadet Org and would become homeless.




                                         61
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 64 of 90 PageID 64




      126. A prerequisite to joining Sea Org was the completion of the EPF.

Valeska did not want to join the EPF but knew if she resisted, she would be

punished with security checks, ethics handlings, or, worse, expulsion and

homelessness. This caused Valeska to experience deep fear because she had

experienced sexual abuses as a child and had heard many stories of children

who fled or were kicked out and then experienced physical and/or sexual

abuse. She was also afraid that Defendants would punish her parents for her

“crime” of refusing the assignment to EPF, as it was common for family to be

punished for the alleged misdeeds of other family members.

      127. When Valeska arrived at the EPF building in Clearwater,

Florida, her passport and identification documents were confiscated. From

age fourteen onward, Valeska did not have any schooling. During the three

months that Valeska was on the EPF, Defendants made her clean the

premises for twelve to eighteen hours per day, including requiring her to

climb into and scrub garbage dumpsters with toxic chemicals without

protective gear. She was usually paid fifteen dollars per week, out of which

she purchased her toiletries and other personal items. After her work shifts

ended, Valeska was required to spend an additional five hours immersed in

Defendants’ indoctrination programs. During this period, Valeska was sleep-

deprived, poorly fed, and consistently verbally abused by adult supervisors.



                                      62
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 65 of 90 PageID 65




Furthermore, she had to live in a cockroach-infested room and use communal

bathrooms covered in mold and mildew.

      128. While Valeska was on the EPF, Jacob, a nineteen-year-old

Scientologist who was also on the EPF, sexually assaulted her. He pushed

her against the wall in a swimming pool and rubbed his penis against her

vagina, putting his hands down her swimming top and rubbing her breasts.

Valeska had been conditioned not to report incidents of abuse because she

would be made to take responsibility for causing them, labelled a potential

trouble source, and be punished.

      129. At age fifteen, upon completing Sea Org EPF, Defendants posted

Valeska to the Commodore’s Messenger Org (CMO) EPF at Flag Base, where

for six months she worked sixteen-hour days preparing food, doing laundry,

cleaning offices, and serving as a personal assistant to Scientology executives,

including Defendant David Miscavige. As part of their pattern of

manipulation and coercion, Defendants would arbitrarily declare Valeska’s

work performance or behavior inadequate and place her on lower conditions

for extended periods.

      130. Even after moving from England to Florida, Valeska was forced

to relive her experiences with sexual abuse in an exceptionally humiliating

manner. During numerous auditing sessions with an adult male



                                      63
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 66 of 90 PageID 66




interrogator, Valeska was required to remove her pants and sit with a towel

on her lap. Her interrogator then asked Valeska explicit questions about her

accounts of sexual abuse that she had described in the reports that she had

written about the individuals who sexually assaulted her. In these sessions,

Valeska would be required to work out how she had “caused” the abuse and

accept responsibility for causing it. In each session, her interrogator

prohibited her from leaving the room until she provided answers to his or her

satisfaction. During her time in the CMO EPF, Valeska was required to

undergo dozens of these interrogations, each of which lasted hours.

      131. During this period, Tyronne Webb (“Webb”), a senior Sea Org

member and CMO officer, frequently sexually assaulted her by lifting her

from behind and rubbing his erect penis against her genitals. Valeska was a

minor at the time. Initially, Valeska did not report Webb to anyone in

Scientology because she was afraid of being interrogated and punished. She

was also aware that Defendants would record any report of abuse or assault

in her PC folder and ethics folder, and she was afraid of being labelled a

Potential Trouble Source. After three months, however, Valeska could no

longer withstand the abuse and, upon learning that another girl had reported

abuse by Webb, Valeska reported it to Defendants’ ethics officer, Tina Fugen,

who in turn reported it to Elizabeth Miscavige, David Miscavige’s sister-in-



                                       64
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 67 of 90 PageID 67




law, who was part of Miscavige’s highest echelon of senior officers. As she

had feared, instead of punishing Webb, Julie Ginge-Neilson, Valeska’s CMO

supervisor, along with her husband Mark Ginge-Nielson, chastised and

punished Valeska for causing the abuse. Valeska was even required to

continue doing Webb’s laundry. As a result, the abuse continued. On one

occasion, Webb pushed Valeska onto a couch and rubbed his erect penis

against her, only stopping when another staff member walked into the room.

After her previous experience reporting Webb, Valeska stayed silent about

the incident for fear of punishment. It did not even occur to Valeska to report

Webb to the police not only because she did not understand that this was

criminal sexual abuse, but also because it was a high crime to report another

Sea Org member to law enforcement.

      132. When Valeska was seventeen, her mother fled Scientology

without authorization and traveled to Switzerland. Defendants believed

Valeska’s mother intended to testify against them in a legal proceeding, and

Annie Morra, a senior officer in OSA, placed Valeska on twenty-four hour

watch, requiring her to spend each day in OSA’s offices under strict

supervision. Each day during this period, while Morra was poring over

Valeska’s mother’s PC folders, searching for compromising information that

might be used to manipulate her, Valeska was brought into the office of the



                                      65
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 68 of 90 PageID 68




senior case supervisor at Flag Base, Allen Kardazinski, where she was

required under his and Morra’s supervision to call her mother, read her

Defendants’ ethics policies and try to persuade her to return to Flag Base.

When the effort failed to secure her mother’s agreement to return to Flag

Base, Valeska was kicked out of CMO, labelled a Potential Trouble Source,

and placed under twenty-four-hour surveillance, after which she was shamed

and scorned by her peers and friends in CMO, who refused to ever speak with

her again. Valeska was then assigned lower conditions and put to work in

the crew dining room for up to twenty-one hours a day, seven days a week for

the next six months.

      133. When Valeska was eighteen, her mother returned to the United

States and was observed by Flag Base security driving by the location where

Valeska was living. As a result, a commanding officer deemed Valeska

subversive, moved her to a different dormitory and again placed her under

twenty-four-hour surveillance. Several days later, Annie Morra informed

Valeska that David Miscavige, who was staying at Flag Base at the time, had

ordered Valeska to be sent to the Freewinds. At 6:30 the next morning,

Morra came into the room where Valeska was sleeping, ordered Valeska to

throw some things in a bag, and placed her in the custody of a security

officer, who took Valeska to the airport, boarded a flight with her to Curacao,



                                      66
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 69 of 90 PageID 69




escorted her onto the ship and handed the ship’s security officer Valeska’s

passport (which Defendants maintained custody of the entire time she was at

Flag Base). Valeska was also required to surrender her other forms of

identification.

      134. Valeska was assigned to work in the restaurant on board the ship

that served members of Scientology who were not on staff. Upon telling Mike

Napier, the Captain of the Freewinds, Sharron Weber, the FSSO

commanding officer, and Jenny Alpers, a senior CMO officer, that she wished

to return to Flag Base, Sharron Weber sent her to the engine room as

punishment, where she was required to climb under the deck plates into a

claustrophobic space between the pipes and clean them with a rag. After

cleaning those areas, Valeska was covered in grease, and the only cleaning

agent she was given to remove the grease was diesel fuel. She was only

permitted fifteen-minute meal breaks in the engine room. Freewinds staff

and the ship’s Captain regularly verbally abused Valeska.

      135. During her time on the ship, Defendants required Valeska to

perform arduous physical labor and menial tasks and punished her for any

failure to fully comply with the commands of higher-ranking Sea Org

members. Valeska suffered from sleep deprivation and was always fearful




                                      67
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 70 of 90 PageID 70




that anything she said might be interpreted as rebellious and result in

mental or physical punishment.

      136. For all of this, Valeska was paid fifty dollars per week, out of

which (if she was lucky enough to even receive her full pay), she purchased

her toiletries, and other personal items from the ship’s commissary.

      137. For a prolonged period, Valeska was made to clean the ship and

wash dishes for 16 hours per day with only 15-minute meal breaks permitted.

Defendants also assigned her lower conditions, forcing her to confess to her

alleged “crimes” against Scientology, make amends for her supposed

transgressions, and undergo auditing to the satisfaction of her auditor.

During this period, she was not permitted to talk to anyone or make phone

calls, and she remained under twenty-four-hour surveillance. Valeska wrote

a letter to Shelly Miscavige, the wife of David Miscavige, describing the

abuses and stating that she wanted to leave the Freewinds, but Sharon

Weber found the letter, tore it up and sent Valeska to the engine room as

punishment until she accepted her fate. Six months later, Valeska wrote a

second letter to Shelly Miscavige requesting permission to temporarily leave

the ship, but Shelly Miscavige reported the letter to security and instructed

them to tell her that her request had been denied.




                                      68
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 71 of 90 PageID 71




      138. During a visit to the Freewinds, Defendant Miscavige asked

Valeska how she liked being aboard the ship. In response, Valeska said she

did not like it and matter-of-factly reminded him that he personally had

issued the order that she be put to work on the Freewinds, a fact he

acknowledged.

      139. At one point, the ship was undergoing some renovation work and

Valeska was assigned to sweep up dust and debris without any protective

equipment. Unbeknownst to Valeska, the dust was blue asbestos, causing

her to have a persistent cough for many years.

      140. After some time on the ship, Valeska began a romantic

relationship with Carlos, the ship’s Security Chief. Defendants prohibited

intimate relationships between unmarried members of Scientology. When

Carlos confessed to superiors that he was in the relationship with Valeska,

CMO officers Amber O’Sullivan and Kerry Ibert, and a third officer, John

Salas, locked Valeska in a room and screamed at her repeatedly to confess

what she had done. Salas and Pilar Saldarriaga, a senior CMO officer, then

locked Valeska alone in a room for 5 hours until she prepared a legible,

handwritten confession providing graphic detail of sexual acts she had

performed with Carlos. A summary of the confession extracted from Valeska

was then posted on the ship’s notice board for the entire crew to read,



                                      69
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 72 of 90 PageID 72




humiliating Valeska and causing her to be subjected to shame and scorn from

the crew. Saldarriaga also threatened to put Valeska in an RPF program on

the ship for betraying Miscavige.

      141. After Carlos and Valeska broke up, Carlos began to harass her,

accosting her and verbally threatening her. Valeska could not avoid him

because they were assigned to work in the same area of the ship. When

Valeska reported Carlos, she was again punished and humiliated. She was

assigned lower conditions for five months. Another time, Carlos poured a

gallon of bleach on the floor of the room where Valeska was sleeping, filling

the room with noxious fumes. When she reported him, she was verbally

abused for causing it, forced to clean it up, audited, and assigned to

additional lower conditions.

      142. In response to Valeska’s reporting Carlos’s abusive behavior,

Saldarriaga issued a “non-enturbulation” order, which essentially meant that

Valeska was close to being declared a Suppressive Person. The order, which

also summarized Defendants’ policy on Suppressive Persons, was then read

in front of the entire ship staff and posted on the notice board, causing

Valeska to be subjected to additional shaming and scorn.

      143. In another incident, the captain’s son, Sean Napier, sexually

assaulted Valeska. He locked her in a room and rubbed his erect penis



                                       70
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 73 of 90 PageID 73




against her until he ejaculated. Valeska reported the incident and Isabel

McLernen, a senior ethics officer, screamed at and verbally abused Valeska

for allegedly causing Napier to sexually assault her, and she required

Valeska to write up her alleged crimes.

      144. Defendants’ control over every aspect of Valeska’s life was

relentless and merciless. Valeska eventually married Roberto Toppi, a

member of Sea Org and an IASA officer, whose job on the ship was

fundraising for IASA, but it was not a good relationship and Valeska decided

to divorce him. This supposedly caused Toppi to become less productive, for

which Valeska was once again assigned lower conditions. When another Sea

Org member expressed a romantic interest in Valeska, she was blamed for

seducing him and she was interrogated continuously for forty-eight hours.

Lurie Belotti and Sue Price ordered Valeska to be confined to the engine

room and not have further contact with the man, and humiliated her by

posting the order on the ship’s notice board. Two officers on the ship, Isabel

McLernen and Paolo Cocodo, then mandated that Sea Org members report

Valeska’s alleged crimes. Sea Org members dutifully wrote numerous

reports of Valeska’s alleged infractions and Valeska was punished each time.

      145. For one such punishment, Valeska was confined in the engine

room for forty-eight hours. The temperature was over one hundred degrees.



                                      71
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 74 of 90 PageID 74




Valeska suffered a panic attack, went numb, and was unable to move or call

for help. When an engineer discovered her an hour later, he carried her to

the control room where she was deprived of medical treatment. Paolo Cocodo

berated Valeska for overreacting and sent her back to the engine room. Two

weeks later, when she was again confined as punishment and fell

unconscious, she did not seek medical care from the ship’s medical officer for

fear of being verbally abused and punished again.

      146. Valeska could no longer withstand the abuse and decided she

needed to leave the ship and Sea Org. Valeska confided in another Sea Org

member that she wanted to leave, which was considered Scientology’s highest

crime. Upon learning of this, Isabel McLernen placed Valeska under twenty-

four-hour surveillance and again forced her to work in the engine room and

undergo intensive auditing for the next three months.

      147. Valeska contemplated suicide. She was desperate to get off the

ship. She knew she would not survive if she stayed. Lurie Belotti and Sue

Price then presented Valeska with a choice: return to the engine room or be

sent to an RPF site where she could be “rehabilitated.” Knowing she would

not survive continued confinement to the engine room, Valeska acquiesced

and was sent to an RPF forced labor site in Australia, far from any family or

friends. Before leaving the ship, Ludwig Alpers, the Port Captain and a



                                      72
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 75 of 90 PageID 75




corporate officer of FSSO, and Fabian Marty, ship security, instructed

Valeska to put on some makeup and meet them in a room on the ship, where

she was instructed to sit at a table and sign documents in front of a video

camera. She did not understand what the documents were and was given no

time to review them. Nor did she have any choice; she knew that if she did

not sign the documents, she would be sent right back to the engine room.

Once she signed the documents, she was given her passport and identity

papers, and Marty warned her that if she tried to escape while enroute to the

RPF, she would be declared a Suppressive Person.

      148. On arrival at the RPF site in Australia, security again

confiscated Valeska’s passport and identification documents. For the next

eleven months, Valeska was made to wear black to signify her low status,

prohibited from talking to anyone without permission, and forced to perform

arduous physical labor for ten hours per day followed by five hours of security

checks.

      149. Even after completing her rehabilitation program, Valeska was

still considered to be in Sea Org. Defendants still had her passport and

identity documents, and she lived in a Sea Org dormitory at the RPF site

while working in an administrative office. Valeska married another Sea Org

member, Chris Guider, without Defendants’ permission. Valeska was forced



                                      73
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 76 of 90 PageID 76




to clean garbage cans as punishment. But that was not all. Sue Price sent

Valeska a message: Defendants had allegedly not found a replacement to do

Valeska’s work on the ship, and they were considering sending her back to

the ship’s engine room until a suitable replacement was found. Alarmed at

this prospect, Valeska wrote a report to Defendant David Miscavige about the

conditions on the ship. Lurie Belotti and Sue Price then threatened to send

her to the RPF in Los Angeles. It was becoming increasingly clear to Valeska

that Defendants were not going to let her leave.

      150. Valeska then wrote a letter to Eran Bucci, a senior Sea Org

officer, saying she wanted to leave Sea Org. Another senior officer then

screamed at Valeska, telling her she would get cancer and die if she left, and

reminding her that she would have to repay all her freeloader debt. Valeska

was aware that Sea Org members are not permitted to have children, so she

purposely became pregnant and refused demands that she terminate her

pregnancy. After six weeks, Valeska miscarried but continued to pretend to

be pregnant so that she would be forced to leave Sea Org. During this period,

Defendants were also pressuring Chris to leave Valeska. One day, Chris did

not return to their quarters in Sea Org housing when she expected, and she

could not find him. Eran Bucci told Valeska that Chris had decided to stay in

Sea Org and divorce Valeska, which Valeska knew was not true. This caused



                                      74
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 77 of 90 PageID 77




Valeska to panic, because she did not know where Chris was or whether

Defendants had removed him from the location. She returned to their

quarters and was sorting through her possessions, believing at this point that

she had to flee, when Chris returned. Seeing his wife in such a panicked

state, he suggested they go for a walk to help her calm down. When they

returned, their quarters had been ransacked and most of their possessions

had been seized.

      151. Vicky Dunstan, the Commanding Officer for Australia in

Defendants’ OSA, then informed Valeska that they would permit her to leave

Sea Org once she had completed security checks to their satisfaction, which

became a four-month ordeal. Before returning Valeska’s passport and

identification documents, pursuant to Defendants’ longstanding policies and

standard practices, she was required to sign more documents. Consistent

with these policies and practices, she was not given an opportunity to

examine the documents, make copies, or find anyone to review them with her.

She did not understand what she was signing, because, as a product of

Defendants’ intense, lifelong indoctrination and her lack of adequate

education, she had no understanding of her rights or the law.

      152. Just because Valeska had finally managed to leave Sea Org did

not mean she was in a position to start a new life. When she left Scientology,



                                      75
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 78 of 90 PageID 78




she had no money, no official identification, and no ability even to open a

bank account because she was not legally in the country in which Defendants

had sent her for punishment. Further, Defendants watched her and

maintained a menacing presence, reminding her that if she did or said

anything critical of Defendants, she would be subjected to swift and fierce

retaliation. Marion Pouw, who worked directly for Miscavige and had the job

of attempting to “recover” people who he considered to present some risk if

they were free, called Valeska every day, reading to her reports written at

Defendants’ direction by her brother that accused Valeska of engaging in

”suppressive acts” and insisting that Valeska travel to LA to undergo ethics

handlings and additional security checks. Valeska understood that she faced

a very real threat of retaliation by Defendants if she took any action against

them.

        153.   In May 2011, an investigator from the Australian government’s

labor authority contacted and interviewed her about inadequate

compensation at Defendants’ RPF site in Australia. The interview was very

narrowly focused on the issue of compensation and, knowing there would be

serious repercussions from Defendants if she went any further than was

required, Valeska did not discuss the Freewinds or any of her prior

mistreatment.



                                       76
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 79 of 90 PageID 79




      154. In late 2011, Defendants threatened to take action against

Valeska if she (among other things) aided or assisted any person or entity

hostile to Defendants or Scientology. This terrified and effectively silenced

Valeska, who had long heard stories of the lengths to which Defendants

would go in destroying their perceived enemies.

      155. A few years later, Valeska made public statements critical of

Scientology. Defendants quickly directed the purchase of the domain name

http://www.valeskaparis.com/, so that an online search for “Valeska Paris”

brought up the website in the search results. The website contains a photo

identifying Valeska and accuses her of lying about her time in Sea Org. It

contains testimonials from other Sea Org members supporting this

accusation and publishes letters that Valeska was forced to send family and

friends while aboard the ship in order to assuage their concerns about her

safety and wellbeing.

      156. The website with Valeska’s name and photos remains on the

internet and turns up when someone uses a search engine to search her name.

Valeska has lived in continual fear that the website could damage job prospects

and personal relationships, and that it could likewise cause her children (who

have never been part of Scientology) to experience difficulties as well. The

inescapable presence of the website has also constantly served to remind



                                      77
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 80 of 90 PageID 80




Valeska of the potential for even more serious forms of retaliation if she were

ever to violate Defendant’s absolute prohibition on initiating any criminal or

civil legal action against them.

      157. Defendants’ threats, intimidation and retaliation caused Valeska

to refrain for years from seeking legal counsel or taking any legal action

against Defendants.

      158. Valeska continues to suffer from the traumas and injuries she

experienced in Scientology, including persistent nightmares about being

trapped in Sea Org and unable to escape the Freewinds.

V.    CLAIMS FOR RELIEF

                                   COUNT I

       Forced Labor and Attempted Forced Labor in Violation
      of the Trafficking Victims Protection Reauthorization Act
                              (“TVPRA”),
             18 U.S.C. §§1589 and 1594(a) (All Defendants)

      159. Plaintiffs reallege and incorporate by reference the allegations in

paragraphs 1 through 158, as though fully set forth herein.

      160. Plaintiffs bring this claim pursuant to 18 U.S.C. §1595(a).

      161. Defendants knowingly provided or obtained, or attempted to

provide or obtain, Plaintiffs’ labor or services in violation of 18 U.S.C. §1589

by means of (i) serious harm or threats of serious harm to Plaintiffs or others;

(ii) physical restraint or threats of physical restraint to Plaintiffs through


                                        78
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 81 of 90 PageID 81




retention of their passports, threats of isolation, and other affirmative acts; or

(iii) a scheme, plan, or pattern intended to cause Plaintiffs to believe that if

they did not perform labor or services for Defendants, that they or others

would suffer serious harm or physical restraint.

      162. Defendants knowingly benefitted, financially or by receiving

anything of value from participation in a venture which Defendants knew or

should have known had engaged in acts in violation of the TVPRA, including

violations of 18 U.S.C. §1589.

      163. Defendants also attempted to violate 18 U.S.C. §1589 in violation

of 18 U.S.C. §1594(a).

      164. As a direct and proximate result of Defendants’ conduct,

Plaintiffs have been harmed.

      165. Plaintiffs are therefore entitled to recover damages in an amount

to be proven at trial, including compensatory and punitive damages, attorneys’

fees, costs, and other relief that the Court may deem proper.

                                   COUNT II

            Conspiracy to Obtain Forced Labor in Violation
              of the TVPRA, 18 U.S.C. §§1589 and 1594(b)
                           (All Defendants)

      166. Plaintiffs reallege and incorporate by reference the allegations in

paragraphs 1 through 158, as though fully set forth herein.



                                        79
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 82 of 90 PageID 82




      167. Plaintiffs brings this claim pursuant to 18 U.S.C. §1595(a).

      168. Defendants conspired to violate 18 U.S.C. §1589 in violation of 18

U.S.C. §1594(b).

      169. Defendants intentionally entered into an agreement to obtain

Plaintiffs’ labor or services in violation of 18 U.S.C. §1589 by means of (i)

serious harm or threats of serious harm to Plaintiffs or others; (ii) physical

restraint or threats of physical restraint to Plaintiffs through retention of

their passports, threats of isolation, and other affirmative acts; or (iii) a

scheme, plan, or pattern intended to cause Plaintiffs to believe that if they

did not perform labor or services for Defendants, Plaintiffs or others would

suffer serious harm or physical restraint.

      170. At least one Defendant committed at least one overt act in

furtherance of their conspiracy.

      171. As a direct and proximate result of Defendants’ actions, Plaintiffs

have been harmed.

      172. Plaintiffs are therefore entitled to recover damages in an amount

to be proven at trial, including compensatory and punitive damages,

attorneys’ fees, costs, and other relief that the Court may deem proper.




                                        80
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 83 of 90 PageID 83




                                  COUNT III

             Trafficking and Attempted Trafficking with
          Respect to Forced Labor in Violation of the TVPRA,
                      18 U.S.C. §§1590 and 1594(a)
                            (All Defendants)

      173. Plaintiffs reallege and incorporate by reference the allegations in

paragraphs 1 through 158, as though fully set forth herein.

      174. Plaintiffs bring this claim pursuant to 18 U.S.C. §1595(a).

      175. Defendants knowingly recruited, harbored, transported,

provided, or obtained, or attempted to recruit, harbor, transport, provide or

obtain, Plaintiffs for labor or services in violation of provisions of the TVPRA,

including 18 U.S.C. §1589, as alleged herein, thereby violating 18 U.S.C.

§1590.

      176. Defendants knowingly benefitted, financially or by receiving

anything of value from participation in a venture which Defendants knew or

should have known had engaged in acts in violation the TVPRA, including

violations of 18 U.S.C. §1590.

      177. Defendants also attempted to violate 18 U.S.C. §1590 in violation

of 18 U.S.C. §1594(a).

      178. As a direct and proximate result of Defendants’ actions, Plaintiffs

have been harmed.




                                       81
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 84 of 90 PageID 84




      179. Plaintiffs are therefore entitled to recover damages in an amount

to be proven at trial, including compensatory and punitive damages,

attorneys’ fees, costs, and other relief that the Court may deem proper.

                                   COUNT IV

        Conspiracy to Traffic with Respect to Forced Labor in
Violation of the TVPRA, 18 U.S.C. §§1590 and 1594(b) (All Defendants)

      180. Plaintiffs reallege and incorporate by reference the allegations in

paragraphs 1 through 158, as though fully set forth herein.

      181. Plaintiffs bring this claim pursuant to 18 U.S.C. §1595(a).

      182. Defendants conspired to violate 18 U.S.C. §1590 in violation of 18

U.S.C. §1594(b).

      183. Defendants intentionally entered into an agreement to recruit,

harbor, transport, provide, or obtain Plaintiffs for labor or services in

violation of 18 U.S.C. §1590, as alleged herein.

      184. At least one Defendant committed at least one overt act in

furtherance of their conspiracy.

      185. As a direct and proximate result of Defendants’ actions, Plaintiffs

have been harmed.

      186. Plaintiffs are therefore entitled to recover damages in an amount

to be proven at trial, including compensatory and punitive damages,

attorneys’ fees, costs, and other relief that the Court may deem proper.


                                       82
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 85 of 90 PageID 85




                                  COUNT V

                    Peonage and Attempted Peonage
         in Violation of the TVPRA, 18 U.S.C. §§1581 and 1594(a)
                             (All Defendants)

      187. Plaintiffs reallege and incorporate by reference the allegations in

paragraphs 1 through 158, as though fully set forth herein.

      188. Plaintiffs bring this claim pursuant to 18 U.S.C. §1595(a).

      189. Defendants held or returned Plaintiffs to a condition of peonage

in violation of 18 U.S.C. §1581, as alleged herein.

      190. Specifically, Defendants held Plaintiffs against their will and

forced them to perform labor to pay off purported Scientology debts.

      191. Defendants knowingly benefitted, financially or by receiving

anything of value from participation in a venture which Defendants knew or

should have known had engaged in acts of peonage in violation of 18 U.S.C.

§1581.

      192. Defendants also attempted to violate 18 U.S.C. §1581 in violation

of 18 U.S.C. §1594(a).

      193. As a direct and proximate result of Defendants’ actions, Plaintiffs

have been harmed.




                                       83
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 86 of 90 PageID 86




      194. Plaintiffs are therefore entitled to recover damages in an amount

to be proven at trial, including compensatory and punitive damages,

attorneys’ fees, costs, and other relief that the Court may deem proper.

                                   COUNT VI

                    Conspiracy to Commit Peonage
        in Violation of the TVPRA, 18 U.S.C. §§1581 and 1594(b)
                            (All Defendants)

      195. Plaintiffs reallege and incorporate by reference the allegations in

paragraphs 1 through 158, as though fully set forth herein.

      196. Plaintiffs bring this claim pursuant to 18 U.S.C. §1595(a).

      197. Defendants conspired to violate 18 U.S.C. §1581, in violation of

18 U.S.C. §1594(b).

      198. Defendants intentionally entered into an agreement to hold or

return Plaintiffs to a condition of peonage, in violation of 18 U.S.C. §1581.

      199. At least one Defendant committed at least one overt act in

furtherance of their conspiracy.

      200. As a direct and proximate result of Defendants’ actions, Plaintiffs

have been harmed.

      201. Plaintiffs are therefore entitled to recover damages in an amount

to be proven at trial, including compensatory and punitive damages,

attorneys’ fees, costs, and other relief that the Court may deem proper.



                                       84
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 87 of 90 PageID 87




VI. DEMAND FOR JURY TRIAL

      Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a

trial by jury of all issues so triable.

VII. PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray that the Court:

             1.     Find the Defendants liable on all Counts of the Complaint

                    applicable to them and that judgment be entered in favor of

                    Plaintiffs and against Defendants, jointly and severally, on

                    all Counts;

             2.     Award Plaintiffs compensatory damages in amounts to be

                    ascertained at trial;

             3.     Award Plaintiffs punitive damages in amounts to be

                    ascertained at trial;

             4.     Award Plaintiffs attorneys’ fees and costs of suit; and

             5.     Award such other and further relief as the Court deems

                    proper.




                                          85
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 88 of 90 PageID 88




 Dated: April 28, 2022                   /s/ Warren A. Zimmerman
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                                    86
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 89 of 90 PageID 89




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                                    87
Case 8:22-cv-00986-TPB-JSS Document 1 Filed 04/28/22 Page 90 of 90 PageID 90




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                                    88
